                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
NIKKI BOLLINGER GRAE, Individually and
on Behalf of All Others Similarly Situated,
   Plaintiff,

   v.
                                                                  Case No. 3:16-cv-02267


CORRECTIONS CORPORATION OF AMERICA, et al.
   Defendant.

                            MOTION FOR ADMISSION PRO HAC VICE

        The undersigned counsel for Plaintiff Amalgamated Bank, as Trustee for the           hereby moves
                                    Longview Collective Investment Fund
   for admission to appear pro hac vice in this action. I hereby certify that I am a member in good

   standing from the United States District Court for the Northern District of California.

   Attached is a Certificate of Good Standing from that Court.


                                                             s/ Kenneth J. Black
                                                                 Signature

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   **FEE: $100.00
   (*Note: The fee may be paid through the credit card module on the Court's ECF System if
   the motion is filed electronically, or it may be forwarded to the Clerk within 21 days after
   the filing. If forwarded to the Clerk, payment should be in the form of a check, cashier's
   check, or money order payable to the Clerk, U. S. District Court, 801 Broadway, Room
   800, Nashville, TN 37203.)

                       * * * INCLUDE A CERTIFICATE OF SERVICE * * X


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2018, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify

that I caused to be mailed the foregoing document or paper via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on May 30, 2018.

                                                             s/Christopher M. Wood
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